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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                            TYLER DIVISION

  KIMBERLY CARGILL,                       §
      Petitioner,                         §
                                          §
  v.                                      § Civil Action No.
                                          § 6:17-cv-00562
  BOBBY LUMPKIN, Director,                §
  Texas Department of Criminal            § *DEATH PENALTY CASE*
  Justice, Correctional Institutions      §
  Division,                               §
        Respondent.                       §

                RESPONDENT’S AMENDED CERTIFICATE
                     OF SERVICE FOR ECF NO. 73

        This is a federal habeas corpus proceeding initiated by Petitioner

  Kimberly Cargill, a death-sentenced Texas inmate, pursuant to 28 U.S.C.

  § 2254. On Thursday, June 16, 2022, this Court granted Respondent Bobby

  Lumpkin’s (the Director) Unopposed Motion for Leave to File a Supplemental

  Pleading with Brief in Support, ECF No. 72, and entered the Director’s Notice

  of Intervening Authority, ECF No. 73. At the time the Director filed his Motion

  for Leave, undersigned counsel did not post a date in the Director’s certificate

  of service in the Notice of Intervening Authority, attached as an exhibit to ECF

  No. 72. The undersigned apologizes for this error and, through the instant

  advisory, certifies that Petitioner was served a copy of the Director’s Notice of

  Intervening Authority on June 16, 2022.

                                       Respectfully submitted,

                                       KEN PAXTON
                                       Attorney General of Texas
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                                      /s/ Cara Hanna_______________
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                                      ATTORNEYS FOR RESPONDENT


                         CERTIFICATE OF SERVICE

         I do hereby certify that on June 20, 2022, I electronically filed the
  foregoing document with the Clerk of the Court for the U.S. District Court,
  Eastern District of Texas, using the electronic case-filing system of the Court.
  The electronic case-filing system sent a “Notice of Electronic Filing” (NEF) to
  the following counsel of record, who consented in writing to accept the NEF as
  service of this document by electronic means: S. Kathrin Schwesinger and
  Daniel Levin, White & Case LLP-Washington, 701 13th Street NW,
  Washington, DC 20005.

                                      /s/ Cara Hanna
                                      CARA HANNA
                                      Assistant Attorney General



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